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Case 2:10-cr-00722-SRC              Document 68          Filed 02/04/11             Page 1 of 1 PageID: 169




                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

                        UNITED STATES v. STEVIE BUCKLISE. 1Or77 ‘CRC)
                                  SB! No.: 981290B,
                     PETITION FOR WRIT OF HABEAS CORPUS

  1. STEVIE BUCKUSE. 581 No.: 9812908,                                 is now confined at the Essex County
  Correctional Facility, 356 Doremus Avenue, Newark, NJ.
  2. This individual is a defendant in a federal case and vill be require
                                                                          d at Newark. New Jersey before the
  Hon. Stanley R. Chesler, on Tuesday, February 8, 2011 at 10:00 a,m. for
  conference .A Writ of Habeas Corpus should be issued for that purpos           an arraignment and status
                                                                            e.
 DATED: February 3. 2011                                      S:/RODNEY VILLAZOR
                                                             Rodney C. Villazor
                                                             Assistant U.S. Attorney
                                                             Petitioner 973-645-2823
                                                                        -




                                                 ORDER
 Let the Writ Issue,

 DATE
          D
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                                                             Hoirty R. Chesler
                                WRIT OF HABEAS CORPUS
 The United States of America to Warden of the Essex County Correctional
                                                                                Facility:
 WE COMMAND YOU that you have the body of:

                       STEVIE BUCKUSE, SB! No.: 981290B, D.O.B.: 02/22/1976

 now confined at the Essex County Correctional Facility, on Tuesda
                                                                     y, February 8, 2011 at
  10:00a.m. be brought before the United States District Court, the Hon.
                                                                          Stanley R. Chesler, U.S.
 District Judge, in the Frank R. Lautenberg U.S. Post Office and Courth
                                                                         ouse, Federal Square,
 Newark, New Jersey 07102 on Tuesday. February 8, 2011 at 10:00
                                                                     a.m., so that he may appear
 for an arraignment and status conference in the above-captioned matter
                                                                         .
                 WITNESS the Honorable Stanley R. Chesler
                 United States District Judge
                 Newark, New Jersey.


 DATED                                             WILLIAM T WALSH
                                                   Clerk of the U.S. District Court
                                                   for the District of New Jersey
                                                                            -   7

                                                   Per
                                                                     Deputy Clerk
